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                                                  UNITED STATES DISTRICT COURT
                 16
                                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                 17
                 18      STATE COMPENSATION                        Case No. 8:15−cv−01279 AG(JCGx)
                         INSURANCE FUND, a Public
                 19      Enterprise Fund and Independent           Honorable Andrew J. Guilford
                         Agency of the State of California,
                 20                                                REPORT OF SETTLEMENT
                                     Plaintiff,                    BETWEEN PLAINTIFF STATE
                 21                                                COMPENSATION INSURANCE
                               v.
                 22                                                FUND AND DEFENDANT ROGER
                         DANIEL CAPEN, an individual, et al.,      SHORTZ
                 23
                                     Defendants.                   [Pursuant to Local Rule 16-15.7]
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M ANATT , P HELPS &
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  ATTORNEYS AT LAW
    COSTA MESA                           REPORT OF SETTLEMENT BETWEEN STATE FUND AND SHORTZ
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                     1   TO THE HONORABLE ANDREW J. GUILFORD, UNITED STATES
                     2   DISTRICT JUDGE:
                     3            Plaintiff State Compensation Insurance Fund (“State Fund”) respectfully
                     4   submits this Report of Settlement pursuant to Local Rule 16-15.7.
                     5            State Fund and Defendant Roger Shortz have reached a settlement. State
                     6   Fund and Defendant Shortz have agreed that, with the Court’s permission, this case
                     7   is stayed as to Defendant Shortz pending a joint stipulation of dismissal. Upon
                     8   completion of the terms of the settlement, State Fund and Defendant Shortz will file
                     9   a stipulation of dismissal as to Defendant Shortz.
                 10
                         Dated:        July 1, 2016
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                                                                     Respectfully submitted,
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                                                                     MANATT, PHELPS & PHILLIPS, LLP
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                                                                     By: /s/ Kenneth B. Julian
                 15                                                     Kenneth B. Julian
                                                                        Attorneys for Plaintiff
                 16                                                     STATE COMPENSATION
                                                                        INSURANCE FUND
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                                             REPORT OF SETTLEMENT BETWEEN STATE FUND AND SHORTZ
